                                  UNITED STATES DISTRICT COURT

                           FOR THE WESTERN DISTRICT OF VIRGINIA

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 Katherine Painter;                                             )
                   Plaintiff,                                   )
                                                                )
                                                                )        No: 6:17-CV-00034
          v.                                                    )
                                                                )
                                                                )
 Blue Ridge Regional Jail Authority; Corrections                )
 Officer Timothy Farrar, individually and as an                 )
 Agent of the Blue Ridge Jail Authority; and                    )
 Corrections Officer Pitts, individually and as an              )
 Agent of the Blue Ridge Jail Authority;                        )
                                                                )
                   Defendants.                                  )
 ______________________________________________________________________________


                                 REQUEST FOR ENTRY OF DEFAULT

         Plaintiff, Katherine Painter, hereby requests the entry of default against DEFENDANT

 TIMOTHY FARRAR on the basis that the record in this case demonstrates that there has been a

 failure to plead or otherwise defend as provided by Federal Rule of Civil Procedure 55(a) within

 the time allowed by law. An affidavit in support of this request and a certificate of service are

 attached hereto as Exhibit A and B, respectively.


                                                                         Respectfully Submitted,

                                                                         By:__/s Bhavani Raveendran

                                                                         Bhavani Raveendran
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                                   CERTIFICATE OF SERVICE
 I do hereby certify that on this 7th day of November, 2017, I electronically filed the foregoing
 with the Clerk of Court using the CM/ECF system, and sent the foregoing by U.S. Mail to the
 following addresses:

 Timothy Farrar
 90 Weeping Willow Drive
 Apartment J
 Lynchburg, VA 24501



                                                      By:__/s Bhavani Raveendran

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